         Case: 1:17-cv-02450 Document #: 1 Filed: 03/30/17 Page 1 of 9 PageID #:1



                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 LISA A. BATEY-KOLEGAS,
                                                      CIVIL ACTION
       Plaintiff,

 v.                                                   COMPLAINT 1:17-cv-02450

 CREDIT ONE BANK, N.A.,
                                                      JURY TRIAL DEMANDED
       Defendant.

                                          COMPLAINT

          NOW COMES Lisa A. Batey-Kolegas (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd., complaining of the Defendant, Credit One Bank, N.A. (“Credit One”

or “Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action seeking redress for violations of the Telephone Consumer

Protection Act (“TCPA”) pursuant to 47 U.S.C. §227, and violations of the Illinois Consumer

Fraud and Deceptive Practices Act (“ICFA”) pursuant to 815 ILCS 505/1 et seq.

                                    JURISDICTION AND VENUE

      2. Subject matter jurisdiction is conferred upon this Court by the TCPA and 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States.

      3. The Court has supplemental jurisdiction over the state law ICFA claim under 28 U.S.C.

§1367.

      4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Credit One conducts business

in the Northern District of Illinois and all of the events or omissions giving rise to the claims

occurred within the Northern District of Illinois.


                                                 1
       Case: 1:17-cv-02450 Document #: 1 Filed: 03/30/17 Page 2 of 9 PageID #:2



                                                PARTIES

    5. Plaintiff is a consumer and natural person over 18-years-of-age who, at all times relevant,

resided in the Northern District of Illinois.

    6. Defendant Credit One is national banking institution with its principal place of business

located at 585 Pilot Road, Las Vegas, Nevada 89119. Credit one is engaged in the business offering

credit card services and collecting or attempting to collect, directly or indirectly, debts owed or

due using the mail and telephone from consumers across the country, including consumers in the

State of Illinois.

                                FACTS SUPPORTING CAUSE OF ACTION

    7. In January 2015, Plaintiff received a pre-approved offer of credit from Credit One (“subject

account”). Plaintiff then went online to apply for the Credit One credit card and was subsequently

approved.

    8. Plaintiff began making monthly payments on her Credit One credit card. At some point

thereafter Plaintiff started falling behind on making her monthly payments.

    9. This resulted in Plaintiff defaulting on the subject account.

    10. As soon as Plaintiff would fall behind on her payments, Credit One would begin placing

collection calls to Plaintiff’s cellular phone demanding payment on the subject account.

    11. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 4247. Plaintiff is and always has been financially

responsible for this cellular phone and its services.

    12. On or around February 22, 2016, Plaintiff received a collection call on her cellular phone

from Credit One. When Plaintiff answered, she said “hello,” to which there was no response for

approximately 3 seconds. After the pause, an agent introduced them self as a representative of



                                                   2
          Case: 1:17-cv-02450 Document #: 1 Filed: 03/30/17 Page 3 of 9 PageID #:3



Credit One calling to collect a payment on the subject account. Plaintiff demanded that Credit One

stop placing calls to her cellular phone.

       13. Plaintiff requested that Credit One cease placing calls to her cellular phone on no less than

2 separate occasions.

       14. Notwithstanding Plaintiff’s request that Credit One cease placing calls to her cellular

phone, Credit One placed or caused to be placed no less than 25 harassing phone calls to Plaintiff’s

cellular phone ending in 4247 between February 22, 2016 and the present day, including, but not

limited to, the following dates and times: 1

                   March 17, 2016;
                   March 18, 2016 (2 calls);
                   March 19, 2016 (2 calls);
                   March 21, 2016 (4 calls);
                   March 23, 2016;
                   March 24, 2016;
                   March 31, 2016;
                   April 21, 2016;
                   April 22, 2016;
                   April 26, 2016;
                   April 27, 2016 (2 calls);
                   May 5, 2016 (2 calls); and
                   July 11, 2016.


       15. Plaintiff received Credit One’s calls from various telephone numbers including, but not

limited to, the following:2

                            i.                 863-784-3159;
                            ii.                407-358-6498;

1
    The list of calls is not exhaustive. The list includes the phone calls that were documented by Plaintiff.
2
    The list of telephone numbers is not exhaustive. The list includes numbers that were documented by Plaintiff.

                                                            3
       Case: 1:17-cv-02450 Document #: 1 Filed: 03/30/17 Page 4 of 9 PageID #:4



                      iii.            602-282-1664;
                      iv.             866-910-8032; and
                      v.              877-825-3242.

   16. Plaintiff’s demands that Credit One’s phone calls cease fell on deaf ears and Credit One

continued its phone harassment campaign.

   17. Upon information, belief, and in light of the frequency of the calls, Credit One utilized an

ATDS, as defined by 47 U.S.C. §227(a)(1), to place the unwanted and unsolicited calls to

Plaintiff’s cellular phone.

   18. The telephone number ending in 4247 that Credit One called was assigned to cellular

services for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. §227(b)(1).

   19. The calls Credit One placed to Plaintiff’s cellular phone were not placed for emergency

purposes pursuant to 47 U.S.C. §227(b)(1)(A)(i).

                                               DAMAGES

   20. Plaintiff has suffered and continues to suffer from emotional distress, mental anguish, and

anxiety as a direct result of Credit One’s unlawful collection practices.

   21. Credit One’s harassing phone calls have severely disrupted Plaintiff’s daily life and general

well-being.

   22. Credit One’s phone harassment campaign and illegal collection activities have caused

Plaintiff actual harm, including but not limited to, physical harm, invasion of privacy, nuisance,

aggravation that accompanies unsolicited telephone calls, emotional distress, mental anguish,

increased risk of personal injury due to the distraction caused by the phone calls, diminished value

and utility of her telephone equipment and telephone subscription services, the wear and tear

caused to her cellular telephone, the loss of battery charge, the loss of battery life, and the per-




                                                 4
       Case: 1:17-cv-02450 Document #: 1 Filed: 03/30/17 Page 5 of 9 PageID #:5



kilowatt electricity costs required to recharge her cellular telephone as a result of increased usage

of her telephone services.

   23. Concerned about the violations of her rights and invasion of her privacy, Plaintiff sought

the assistance of counsel to cease Credit One’s collection tactics, incurring costs and expenses

traveling to and from her attorney’s office.

            COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   24. Plaintiff restates and realleges paragraphs 1 through 23 as though fully set forth herein.

   25. Credit One placed or caused to be placed frequent non-emergency calls, including but not

limited to the calls referenced above, to Plaintiff’s cellular telephone using an automatic telephone

dialing system (“ATDS”) without her consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

   26. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

telephone numbers to be called, using a random or sequential number generator; and to dial such

numbers.” 47 U.S.C. §227(a)(1).

   27. “A predictive dialer is equipment that dials numbers and, when certain computer software

is attached, also assists [caller] in predicting when an [agent] will be available to take calls. The

hardware, when paired with certain software, has the capacity to store or produce numbers and

dial those numbers at random, in sequential order, or from a database of numbers.” Meyer v.

Portfolio Recovery Associates, LLC, 707 F.3d 1036, 1043 (9th Cir. 2012).

   28. The Federal Communications Commission (“FCC”) has determined that predictive dialing

systems are a form of an automatic telephone dialing system. Id.

   29. Upon information and belief, the predictive dialing system employed by Credit One

transfers the call to a live agent once a human voice is detected, thus resulting in a pause after the

called party speaks into the phone.



                                                  5
         Case: 1:17-cv-02450 Document #: 1 Filed: 03/30/17 Page 6 of 9 PageID #:6



   30. Credit One violated the TCPA by placing no less than 25 calls between February 2016 and

July 2016 to Plaintiff’s cellular phone, after Plaintiff demanded that Credit One cease placing calls

to her cellular phone on no less than 2 separate occasions during the phone calls she answered.

   31. As pled above, Plaintiff was severely harmed by Credit One’s collection calls to her cellular

phone.

   32. Upon information and belief, Credit One has no system in place to document and archive

whether it has consent to contact consumers on their cellular phones.

   33. Upon information and belief, Credit One knew its collection techniques were in violation

of the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.

   34. Credit One, through its agents, affiliates, representatives and/or employees acting within

the scope of their authority acted intentionally in violation of 47 U.S.C. §227(b)(1)(A)(iii).

   35. Pursuant to 47 U.S.C. §227(b)(3)(B), Credit One is liable to Plaintiff for a minimum of

$500 per call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Credit One’s willful and knowing

violations of the TCPA should trigger this Honorable Court’s ability to triple the damages to which

Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).

WHEREFORE, Plaintiff LISA A. BATEY-KOLEGAS requests that this Honorable Court:

   a. Declare Credit One’s phone calls to Plaintiff to be violations of the TCPA;
   b. Award Plaintiff damages of at least $500 per phone call and treble damages pursuant to 47
         U.S.C. § 227(b)(3)(B)&(C); and
   c. Award any other relief this Honorable Court deems equitable and just.

                 COUNT II – VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD ACT

   36. Plaintiff restates and reallages paragraphs 1 through 23 as through fully set forth herein.

   37. The Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”) states:




                                                 6
       Case: 1:17-cv-02450 Document #: 1 Filed: 03/30/17 Page 7 of 9 PageID #:7



                Unfair methods of competition and unfair or deceptive acts or practices,
                including but not limited to the use or employment of any deception, fraud,
                false pretense, false promise, misrepresentation or the concealment,
                suppression or omission of any material fact, with intent that others rely
                upon the concealment, suppression or omission of such material fact . . .
                in the conduct of any trade or commerce are hereby declared unlawful
                whether any person has in fact been misled, deceived or damaged thereby.
                815 ILCS 505/2.

   38. Plaintiff is a “person” and a “consumer” as defined in ICFA, 815 ILCS 505/ (c) and (e)

respectively.

   39. Credit One is engaged in commerce in the State of Illinois with regard to Plaintiff. Credit

One specializes in debt collection, which is an activity within the stream of commerce and utilized

in its regular course of business.

   40. Credit One violated 815 ILCS 505/2 by engaging in unfair acts in its attempts to collect the

subject account from Plaintiff.

       a. Unfairness

   41. It was unfair for Credit One to seek to collect from Plaintiff the subject account through

relentless harassing phone calls to her cellular phone attempting to dragoon her into making a

payment.

   42. It was unfair for Credit One to place or cause to be placed no less than 25 phone calls to

Plaintiff’s cellular phone between February 2016 and July 2016, without her consent.

   43. It was unfair for Credit One to continue placing calls to Plaintiff after she demanded that

the calls cease on no less than 2 separate occasions.

   44. Credit One’s unfair conduct is inherently oppressive as Plaintiff had no choice but to

submit to the relentless harassing phone calls to her cellular phone.




                                                    7
         Case: 1:17-cv-02450 Document #: 1 Filed: 03/30/17 Page 8 of 9 PageID #:8



    45. Moreover, Credit One’s unfair conduct is against public policy because it needlessly

subjects consumers to unsolicited calls, resulting in significant harm in the form of invasion of

privacy and nuisance.

    46. Upon information and belief, Credit One systematically places unsolicited and harassing

phone calls to consumers in Illinois in order to aggressively collect debts in default to increase its

profitability at the consumers’ expense.

    47. Upon information and belief, placing unsolicited and harassing phone calls to Illinois

consumers is an unfair business practice willfully employed by Credit One and is done on a large

scale.

    48. Moreover, Credit One’s unlawful and unfair debt collection efforts gives it an unfair

competitive advantage over business that collect lawfully (companies that legally place calls with

prior consent, as authorized, and who lawfully cease calling upon requests to stop).

    49. As alleged above, Plaintiff was substantially harmed by Credit One’s misconduct.

    50. An award of punitive damages is appropriate because Credit One’s conduct described

above was outrageous, willful and wanton, showed a reckless disregard for the rights of Plaintiff

and consumers, generally, and Plaintiff had no choice but to submit to the harassing phone calls.

WHEREFORE, Plaintiff LISA A. BATEY-KOLEGAS requests that this Honorable Court:

    a.    Enter judgment in Plaintiff’s favor and against Credit One;
    b. Award Plaintiff her actual damages in an amount to be determined at trial;
    c. Award Plaintiff her punitive damages in an amount to be determined at trial;
    d. Award Plaintiff her reasonable attorney’s fees and costs pursuant to 815 ILCS 505/10a(c);
         and
    e. Award any other relief this Honorable Court deems equitable and just.




                                                  8
      Case: 1:17-cv-02450 Document #: 1 Filed: 03/30/17 Page 9 of 9 PageID #:9



Plaintiff demands trial by jury.




Dated: March 30, 2017                              Respectfully Submitted,

                                                   /s/ Omar T. Sulaiman
                                                   Omar T. Sulaiman, ARDC#6322837
                                                   Counsel for Plaintiff
                                                   Sulaiman Law Group, Ltd.
                                                   900 Jorie Blvd, Suite 150
                                                   Oak Brook, IL 60523
                                                   Phone: (630) 575-8181
                                                   Fax: (630) 575-8188




                                         9
